
The Court,
(Dana, C. J., Sedgwick, Sewall, and Thacher, justices,) without hearing any argument, were clearly and unanimously of opinion that the plea in bar was bad. They said it did not appear by the plea that the contract was made in the state of Connecticut, nor that the plaintiff was an inhabitant of that state at the time the contract was made, and unless he was, the resolve could not bind him, which they had repeatedly decided; nor was it stated that the trustees had given the notice * required [ * 200 ] by the resolve; nor was it sufficiently averred that the defendant had transferred his property to the trustees. The plea ought to have shown what the property was, whether real or personal estate, or both, and specially stated the mode of transfer, that the Court might see whether it were sufficient; for which reasons

Judgment for the plaintiff.

Note.—It was decided in the Supreme Court of the state of New York that a dis charge under an act of the legislature of Rhode Island was no har to an action brought in that court upon a note made in Massachusetts.—Smith vs. Smith, 2 John. 235. [Bradford vs. Farrand, 13 Mass. 19.—Ed.]
